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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Civil Action No. 9:16-cv-80060-MARRA

  BRANDON LEIDEL, and
  MICHAEL WILSON, individually,
  and on behalf of All Others Similarly Situated,

         Plaintiffs,
  v.

  PROJECT INVESTORS, INC. d/b/a CRYPTSY,
  a Florida corporation,
  PAUL VERNON, an individual, and
  LORIE ANN NETTLES, an individual,

        Defendants.
  ___________________________________________/

         PLAINTIFFS’ NOTICE OF FILING CORRECTED EXHIBIT M1 AND M2
              TO MOTION FOR ENTRY OF PRELIMINARY INJUNCTION
             PROHIBITING THE TRANSFER, SALE, ENCUMBRANCE, OR
              OTHER DISPOSITION OF REAL PROPERTY LOCATED AT
           16832 CHARLES RIVER DRIVE, DELRAY BEACH, FLORIDA 33446

         Plaintiffs BRANDON LEIDEL and MICHAEL WILSON, individually, and on behalf of

  all others similarly situated (“Plaintiffs”), through the undersigned counsel, hereby file Corrected

  Exhibits M1 and M2 to Motion for Entry of Preliminary Injunction (D.E. 23).

                                                Respectfully submitted,

                                                SILVER LAW GROUP
                                                11780 W. Sample Road
                                                Coral Springs, Florida 33065
                                                Phone: (954) 755-4799/Fax: (954) 755-4684

                                                By: /s/ David C. Silver
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                                                         Civil Action No. 9:16-cv-80060-MARRA


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                                               - and -
                                             /s/ Marc A. Wites
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                                             Phone: (954) 570-8989/Fax: (954) 354-0205
                                             Attorneys for Plaintiffs and the Class
                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the

  Clerk of Court on this 24th day of March 2016 by using the CM/ECF system and that a true and

  correct copy will be served in accordance with the Federal Rules of Civil Procedure and/or the

  District’s Local Rules and procedures to: PROJECT INVESTORS, INC. d/b/a Cryptsy c/o

  Paul Vernon, President and Registered Agent, P.O. Box 7646, Delray Beach, FL 33482, E-

  mail: support@cryptsy.com; PAUL VERNON, individually, P.O. Box 7646, Delray Beach, FL

  33482, E-mail: PaulEVernon@yahoo.com; and MARK A. LEVY, ESQ., BRINKLEY MORGAN,

  Counsel for Defendant Lorie Ann Nettles, 200 East Las Olas Blvd. - 19th Floor, Fort Lauderdale,

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                                                     /s/ Marc A. Wites
                                                     Marc A. Wites




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